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Pandemic Coronavirus Plan Module 1: Surveillance and Infection Control

OVERVIEW

Starting now, every CoreCivic facility should creatively and aggressively promote three health habits that interrupt
communicable disease and virus transmission: regular hand hygiene, respiratory etiquette (coughing or
sneezing into a sleeve or tissue); and avoiding touching one’s mouth, nose, or eyes.

This guidance provides general information about pandemic coronavirus. In the event of a pandemic, specific
guidance will be issued by the Chief Medical Officer.

Coronavirus (COVID-19) is a virus (more specifically, a coronavirus) identified as the cause of an outbreak of
respiratory illness first detected in Wuhan, China. Early on, many of the patients in the outbreak in Wuhan, China
reportedly had some link to a large seafood and animal market, suggesting animal-to-person spread. However,
a growing number of patients reportedly have not had exposure to animal markets, indicating person-to-person
spread is occurring. At this time, it's unclear how easily or sustainably this virus is spreading between people.

How it Spreads

Much is unknown about how COVID-19, a new coronavirus, spreads. Current knowledge is largely based on
what is known about similar coronaviruses. Coronaviruses are large families of viruses that are common in many
different species of animals, including camels, cattle, cats, and bats. Rarely, animal coronaviruses can infect
people and then spread among people such as with MERS, SARS, and now with 2019-nCoV.

Most often, spread from person-to-person happens among close contacts (about 6 feet). Person-to-person
spread is thought to occur mainly via respiratory droplets produced when an infected person coughs or sneezes,
similar to how influenza and other respiratory pathogens spread. These droplets can land in the mouths or
noses of people who are nearby or possibly be inhaled into the lungs. It's currently unclear if a person can get
COVID-19 by touching a surface or object that has the virus on it and then touching their own mouth, nose, or
possibly their eyes.

Typically, with most respiratory viruses, people are thought to be most contagious when they are most
symptomatic (the sickest).

It's important to note that how easily a virus spreads person-to-person can vary. Some viruses are highly
contagious (like measles), while other viruses are less so. There is much more to learn about the transmissibility,
severity, and other features associated with COVID-19 and investigations are ongoing.
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Symptoms

For confirmed COVID-19 infections, reported illnesses have ranged from people with mild symptoms to people
being severely ill and dying. Symptoms can include:

= Fever
«= Cough
= Shortness of breath

At this time, the CDC believes that symptoms of COVID-19 may appear in as few as 2 days or as long as 14
after exposure. This is based on what has been seen previously as the incubation period of MERS viruses.

Prevention & Treatment

There is currently no vaccine to prevent COVID-19 infection. The best way to prevent infection is to avoid being
exposed to this virus. However, as a reminder, CDC always recommends everyday preventive actions to help
prevent the spread of respiratory viruses, including:

Avoid close contact with people who are sick.

Avoid touching your eyes, nose, and mouth with unwashed hands.

Stay home when you are sick.

Cover your cough or sneeze with a tissue, then throw the tissue in the trash.

Clean and disinfect frequently touched objects and surfaces using a regular household cleaning spray or
wipe.
Follow CDC's recommendations for using facemask.

» CDC does not recommend that people who are well wear a facemask to protect themselves from
respiratory viruses, including COVID-19.

» Facemasks should be used by people who show symptoms of coronavirus, in order to protect others
from the risk of getting infected. The use of facemasks is also crucial for health workers and people
who are taking care of someone in close settings (at home or in a health care facility).

Wash your hands often with soap and water for at least 20 seconds, especially after going to the bathroom;
before eating; and after blowing your nose, coughing, or sneezing.

» If soap and water are not readily available, use a non-alcohol-based hand sanitizer. Always wash
hands with soap and water if hands are visibly dirty.

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Surveillance

Surveillance refers to the process of detecting and tracking diseases. Surveillance for coronavirus involves
screening for coronavirus symptoms (to rapidly identify coronavirus patients and isolate them); and collecting,
analyzing, and reporting data on individuals who are diagnosed with coronavirus-like illness.

Infection Control

Infection control consists of practices that interrupt the spread of the disease. A variety of measures to interrupt
coronavirus transmission are listed in Table 1 below and discussed in the following pages.

Table 1. Pandemic Coronavirus Infection Control Measures

1. Promote good health habits among employees and inmates/detainees:
a. Regular hand hygiene
b. Respiratory etiquette (coughing or sneezing into sleeve or tissue
c. Avoid touching one's eyes, nose, or mouth

. Conduct frequent environmental cleaning of “high touch” areas.
. Separate the sick from the well:
a. Direct employees to stay home from work if they are sick.
b. Medical staff shall:
1. Promptly identify and contain inmates with coronavirus-like symptoms.
2. Isolate or cohort inmates who are sick with pandemic coronavirus.
3. Conduct contact investigations for coronavirus cases and quarantine contacts.
. Create “social distance” between people.

. Use personal protective equipment (PPE) for close contact with coronavirus patients.

. Ifwidespread coronavirus transmission, consider targeted distribution of face
masks. (Only with the approval of the Chief Medical Officer or designee)

. Provide ongoing infection control education.

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Pandemic Coronavirus Plan Module 1: Surveillance and Infection Control

1.

Promote good health habits among employees and residents/inmates/detainees
Critical to preventing coronavirus transmission is a triad of good health habits, including:

a) Regular hand hygiene
b) Respiratory etiquette (coughing or sneezing into a sleeve or tissue)
c) Avoid touching one’s eyes, nose, and mouth

Preparing for pandemic coronavirus involves improving compliance with these basic infection control
measures, beginning now. Each facility should assure that adequate supplies and facilities are available for
hand washing for residents/inmates/detainees and employees.

Health care workers should have access to non-alcohol-based hand sanitizer. Provision of non-alcohol
based hand rub via dispensers should be considered in key areas that lack facilities for hand washing, i.e.,
outside the dining hall, in the visitation area, etc.

Provisions should be made for employees and visitors to wash their hands before and after they enter the
facility. The triad of good health habits should be promoted in a variety of ways, i.e. educational programs,
posters, campaigns, and assessing adherence with hand washing recommendations.

Conduct frequent environmental cleanings of “high touch” areas

Another general infection control measure is to routinely clean surfaces that are frequently touched

and therefore may become contaminated with germs. These can include door knobs, hand rails, keys,
telephones, computer keyboards, etc. Increasing the frequency of environmental cleaning of these surfaces
is a measure that can be initiated immediately, thereby limiting transmission of other infections such as the
common cold, seasonal flu, and MRSA.

Separate the sick from the well

Transmission of pandemic coronavirus can be prevented by separating those who are ill from those who
have not been infected. Promptly identify and contain inmates/detainees with symptoms, and isolate
inmates/detainees who are sick with pandemic coronavirus.

